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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           4:16-CR-40080-01-KES

                    Plaintiff,

       vs.                                     ORDER DENYING MOTION FOR
                                               RELIEF UNDER THE FIRST STEP
ANTHONY JAMES HARON,                                      ACT

                    Defendant.


      Defendant, Anthony James Haron, moves for compassionate release

under 18 U.S.C. § 3582(c)(1)(A)(i). Docket 88. Plaintiff, the United States of

America, opposes the motion. Docket 93. For the following reasons, the court

denies defendant’s motion for compassionate release.

                                   BACKGROUND

      Haron pleaded guilty to conspiracy to distribute a controlled substance

in violation of 21 U.S.C. §§ 841(a)(1) and 846. Dockets 38, 43. On March 20,

2017, this court sentenced Haron to 151 months in custody followed by 5 years

of supervised release. Docket 64 at 2-3; see also Docket 63. The court later

reduced Haron’s sentence to 75 months in custody followed by 5 years of

supervised release. Docket 87 at 2-3. Haron is eligible for home confinement on

June 6, 2021, and his current anticipated release date is December 6, 2021.

Docket 90 at 266. Haron is incarcerated at Federal Correctional Institution

(FCI) Oxford. Id. at 21, 264.

      Haron has a 7-year-old daughter. Docket 61 ¶ 64; Docket 88 at 1. Haron
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claims that the mother of his daughter died in August of 2019. Docket 88 at 1.

Haron states that the maternal grandmother and maternal aunt are currently

in a custody dispute regarding Haron’s daughter and his daughter’s half-

siblings. Id. On June 22, 2020, Haron filed a motion with the court for relief

under the First Step Act. Id. at 1-2.

                                  DISCUSSION

      Because sentences are final judgments, a court ordinarily “may not

modify a term of imprisonment once it has been imposed[.]” 18 U.S.C.

§ 3582(c). In 2018, Congress passed the First Step Act (FSA). Pub. L. No. 115-

391, 132 Stat. 5194 (2018). In pertinent part, the FSA amends 18 U.S.C.

§ 3582(c)(1)(A) to permit inmates in specified circumstances to file motions in

the court where they were convicted seeking compassionate release. § 603.

Compassionate release provides a narrow path for defendants with

“extraordinary and compelling reasons” to leave prison early. 18 U.S.C.

§ 3582(c)(1)(A)(i). Such a sentence must comply with the 18 U.S.C. § 3553(a)

sentencing factors and “applicable policy statements issued by the Sentencing

Commission[.]” 18 U.S.C. § 3582(c)(1)(A). The Sentencing Commission’s policy

statement, which was adopted before the FSA, requires both “extraordinary

and compelling reasons” and that “the defendant is not a danger to the safety

of any other person or to the community, as provided in 18 U.S.C. § 3142(g)[.]”

U.S.S.G. § 1B1.13(1) (U.S. Sentencing Comm. 2018). The burden to establish

that a sentence reduction is warranted under 18 U.S.C. § 3582(c) rests with

the defendant. See United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).

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      Haron argues that his family circumstances constitute “extraordinary

and compelling” circumstance under 18 U.S.C. § 3582(c)(1)(A)(i). Docket 88 at

1. Haron requests a sentence of time served, home confinement, or extended

time at a halfway house. Id. at 1-2.

I.    Administrative Exhaustion

      Previously, only the Bureau of Prisons (BOP) Director possessed the

authority to bring a compassionate release motion on a defendant’s behalf.

With the enactment of the FSA, however, Congress has now permitted courts to

grant compassionate release on motions filed by defendants “after the

defendant has fully exhausted all administrative rights to appeal a failure of

the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier . . . .” 18 U.S.C. § 3582(c)(1)(A).

      Haron claims that he submitted a request for compassionate release to

his BOP facility on May 9, 2020. Docket 88 at 1. The United States claims he

submitted a request for compassionate release on July 26, 2020. Docket 93 at

2. But there is no evidence in his BOP records of either requests. The court

concludes, however, that it does not need to opine on whether Haron

exhausted his administrative remedies because even if the administrative

exhaustion requirements have been met and Haron’s request may be

considered, Haron is still not entitled to compassionate release.

II.   Extraordinary and Compelling Reasons

      In determining whether compassionate release is justified, the court

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must consider the sentencing factors in 18 U.S.C. § 3553(a), determine

whether “extraordinary and compelling reasons” warrant a sentence reduction,

and evaluate whether a sentence reduction is consistent with the Sentencing

Commission’s applicable policy statements. See 18 U.S.C. § 3582(c). Congress

did not define what constitutes “extraordinary and compelling.” See

28 U.S.C. § 994(t). Rather, the Sentencing Commission was directed to

promulgate “the criteria to be applied and a list of specific” extraordinary and

compelling examples. Id. Prior to Congress passing the FSA, the Sentencing

Commission limited “extraordinary and compelling reasons” to four scenarios.

U.S.S.G. § 1B1.13 cmt. n.1(A)-(C). The four scenarios pertain to a defendant’s

(1) terminal illness, (2) debilitating physical or mental health condition,

(3) advanced age and deteriorating health in combination with the amount of

time served, and (4) compelling family circumstances. Id. Additionally, there is

a fifth catch-all category for an “extraordinary and compelling reason other

than, or in combination with, the reasons described in subdivisions (A) through

(C)” as determined by the Director of the Bureau of Prisons. U.S.S.G. § 1B1.13

cmt. n.1(D).

      After the FSA was passed, the Sentencing Commission did not update its

policy statement because the Sentencing Commission has not had a quorum.

See United States v. Beck, 425 F. Supp. 3d 573, 579 n.7 (M.D.N.C. 2019) (“As

the Sentencing Commission lacks a quorum to amend the U.S. Sentencing

Guidelines, it seems unlikely there will be a policy statement applicable to

[compassionate-release] motions brought by defendants in the near future.”).

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As a result, district courts are left to determine whether the policy statement of

the Sentencing Commission that was in existence when the FSA was passed

still applies. See United States v. Rodd, 2019 WL 5623973, at *3 (D. Minn. Oct.

31, 2019); United States v. Brown, 2020 WL 2091802, at *5-6 (S.D. Iowa Apr.

29, 2020). It is clear that Congress wishes to “[i]ncreas[e] the [u]se . . . of

[c]ompassionate [r]elease” by allowing district courts to grant petitions

“consistent with applicable policy statements” from the Sentencing

Commission. See 132 Stat. at 5239; 18 U.S.C. § 3582(c)(1)(A). But the

Commission has not addressed whether the policy statement from the old

regime is applicable to the new statute nor has it adopted a new policy

statement. Because the First Step Act changed the way a compassionate

release motion may be brought, “several district courts have concluded that the

discretion vested in the BOP Director under the catch-all provision now belongs

coextensively to federal judges.” United States v. Condon, 2020 WL 2115807, at

*3 (D.N.D. May 4, 2020) (citing United States v. Fox, 2019 WL 3046086, at *3

(D. Me. July 11, 2019); United States v. Beck, 425 F. Supp. 3d 573, 578-80

(M.D.N.C. 2019); United States v. Cantu, 423 F. Supp. 3d 345, 352-53 (S.D.

Tex. 2019)); see also United States v. Rivernider, 2020 WL 597393, at *3 (D.

Conn. Feb. 7, 2020). This uncertainty has not yet been addressed by the

Eighth Circuit. See United States v. Rodd, 966 F.3d 740, 747 (8th Cir. 2020)

(“We need not determine whether the district court erred in adhering to the

policy statements in § 1B1.13.”); see also United States v. Frith, 2020 WL

4229160, at *2 (D.N.D. July 23, 2020).

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      Assuming that the policy statements continue to apply to compassionate

release motions brought under the amended FSA, Haron has shown that his

family circumstances rise to extraordinary and compelling circumstances.

      Haron contends that his circumstances warrant relief under the family

circumstances category, U.S.S.G. § 1B1.13 comment note 1(C). See Docket 88

at 1. To justify compassionate release under U.S.S.G. § 1B1.13 comment note

1(C), the defendant must demonstrate one of the following: (1) the death or

incapacitation of the caregiver of the defendant’s minor children or (2) the

“incapacitation of the defendant’s spouse or registered partner when the

defendant would be the only available caregiver for the spouse or registered

partner.”

      Haron claims that the mother of his minor child died on August 18,

2019. Docket 88 at 1. Although Haron’s minor child is currently in the care

and custody of relative caregivers, Haron’s circumstances satisfy the criteria

under U.S.S.G. § 1B1.13 comment note 1(C) and constitute as extraordinary

and compelling reasons for compassionate release.

      While Haron’s family circumstances are “extraordinary and compelling

reasons warrant[ing] such a reduction” under 18 U.S.C. § 3582(c)(1)(A)(i), the

sentencing factors in § 3553(a) do not weigh in favor of a reduction. The

sentencing factors found in 18 U.S.C. § 3553(a) instruct this court to consider

the applicable guidelines issued by the Sentencing Commission; “the nature

and circumstances of the offense and the history and characteristics of the

defendant;” the need for the sentence “to reflect the seriousness of the offense,

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to promote respect for the law, and to provide just punishment for the offense;”

to adequately deter criminal conduct, to protect the public; and “to provide the

defendant with needed educational or vocational training, medical care, or

other correctional treatment in the most effective manner.” 18 U.S.C. § 3553(a).

      Haron was involved in a conspiracy to distribute methamphetamine and

heroin from 2013 to 2016; he was found responsible for distributing

approximately 3,854.8 grams of methamphetamine and 70.87 grams of heroin.

Docket 61 ¶¶ 5, 7, 19, 21. At his sentencing, Haron’s total offense level was a

29, and he was in criminal history category VI. Id. ¶ 89. Haron’s criminal

history includes multiple convictions involving controlled substances. Id.

¶¶ 43, 48-51. In 2005, 2012, and twice in 2013, Haron was convicted of

possession of a controlled substance in state court. Id. ¶¶ 43, 49-51. Haron

committed this offense while he was serving a criminal sentence for one of his

state convictions. Id. ¶ 54. Additionally, Haron has a federal conviction from

2007 for conspiracy to distribute and possession with intent to distribute a

controlled substance. Id. ¶ 48. Haron’s guideline range was 151 to 188 months.

Id. ¶ 89. The court originally sentenced Haron to the bottom end of his

guideline range to 151 months in custody. Docket 64 at 2; Docket 63. Later,

the court reduced Haron’s sentence to 75 months in custody. Docket 87 at 2.

Haron’s current sentence is already less than the offense’s mandatory

minimum of 120 months. See Docket 61 ¶ 88. Haron has served approximately

63% of his full term and approximately 73% of his statutory term. Docket 90 at

267. And while he appears, to his credit, to have worked on improving himself

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in custody, the BOP found Haron’s pattern risk level to be “High.” Id. at 262.

Overall, the amended sentence was chosen with care, considering Haron’s and

his community’s needs and all of the other applicable sentencing factors.

Therefore, the court finds that Haron’s sentence of 75 months in custody with

5 years of supervised release continues to be appropriate for the seriousness of

the crime to which he pleaded guilty.

                                 CONCLUSION

      Haron’s family circumstances are extraordinary and compelling

circumstances under U.S.S.G. § 1B1.13 comment note 1(C), but the sentencing

factors in § 3553(a) do not weigh in favor of a sentence reduction. Thus, it is

      ORDERED that defendant’s motion for relief under the First Step Act

(Docket 88) is denied.

      Dated September 30, 2020.

                                      BY THE COURT:

                                      /s/ Karen E. Schreier
                                      KAREN E. SCHREIER
                                      UNITED STATES DISTRICT JUDGE




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